                               THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                       ASHEVILLE DIVISION
                              CRIMINAL CASE NO. 1:03-cr-00027-MR-DLH


              UNITED STATES OF AMERICA         )
                                               )
                   vs.                         )                       ORDER
                                               )
              EDUARDO IZETA ROSALES            )
              ________________________________ )

                        THIS MATTER is before the Court pursuant to 18 United States Code

              § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                        The Defendant has filed a motion for a reduction of his sentence.

              [Doc. 272].       The Probation Office has submitted a supplement to the

              Defendant’s Presentence Report (“PSR”) in this matter. [Doc. 274]. Based

              thereon, the Court determines that the United States Attorney should

              provide the Court with its position regarding the PSR supplement.

                        IT IS, THEREFORE, ORDERED that no later than thirty (30) days

              from the entry of this Order, the United States Attorney shall file pleadings

              responsive to the Probation Officer’s PSR supplement filed in this matter.

                        IT IS SO ORDERED.

Signed: March 2, 2015




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